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                                                                       U.S. Department of Justice
                                                                       United States Attorney
                                                                       District of Maryland
                                                                       Southern Division

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                                                                  April 13, 2022

Ellie C. Marranzini, Esq.                                                                --- FILED ____ c: ·------
Office of the Federal Public Defender                                                    --- LOGGED     r._� _,. __
6411 Ivy Lane, Suite 710
Greenbelt, MD 20770                                                                                   MAY 2 3 ·2022
          Re:        United States v. Thomas Patrick Connally, Jr.,                                     AT GP.'.:C:M3ELT      Ji i
                                                                                                  CLERK, U.S. DISTRICT COURT .ff-"
                                                                                                    DISTRICT OF MARYLAND
                     Criminal No. PX-22-0172                                              BV                              DEPUTY

Dear Counsel:

        This letter, together with the Sealed Supplement, confirms the plea agreement (this
"Agreement") that has been offered to your client, Thomas Patrick Connally, Jr. (hereinafter
"Defendant"), by the United States Attorney's Office for the District of Maryland ("this Office").
If the Defendant accepts this offer, please have the Defendant execute it in the spaces provided
below. rf this offer has not been accepted by May 3, 2022, at 5 p.m., it will be deemed withdrawn.
The terms of the Agreement are as follows:

                                             Offense of Conviction

        I.      The Defendant agrees to waive indictment and plead guilty to Count One of the
Information to be filed against him, which charges the Defendant with Threats Against a Federal
Official, in violation of 18 U.S.C. §§ 11 S(a)(l)(B) and 115(b)(4). The De fendant admits that the
Defendant is, in fact, guilty of the offense and will so advise the Court.

                                            Elements of the Offense

        2.      The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: That on or about the time
alleged in the Information, in the District of Maryland, (i) the Defendant threatened to murder the
individual named in the Information; (ii) that at the time of the alleged threat, the individual was a
federal official; and (iii) that the Defendant acted with intent to impede, intimidate, or interfere
with that official while the official was engaged in the performance of his or her official duties or
with the intent to retaliate against the official on account of the performance of his or her official
duties.




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